IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

AT NASHVILLE

UNIVERSAL UNDERWRITERS )
INSURANCE COMPANY, )
)
Plaintiff, }
)

vs. ) No.
)
AMERICA’S POWERSPORTS, INC. )
)
Defendant. )

COMPLAINT

Comes the Piaintiff Universal Underwriters Insurance Coinpany and respectfuliy
submits the following Complaint.

1. The Plaintiff Universai Underwriters Insurance Cornpany (hereinafter referred
to as “Universal Underwriters”) is a Kansas corporation with its principal place of business
located at 7045 College Boulevai‘d, Over}and Park, Kansas 66211. Universal is authorized to
transact business and has transacted business iri Tennessee.

2. The Defendant Arnerica’s Powersports, Inc., is a Delaware corporation With its
principal place of business at 155 Franklin Road, Suiie 310, Brentwooci, Tennessee 37027 and
may be served at C T Corporation Systern, 800 Gay Street, Suite 2021, Knoxville, Tennessee
37929-9710.

3. 'I`his Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332 in that
there is diversity of citizenship between the parties and the amount in controversy exceeds

375,000.00 exclusive of interest and costs.

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ALLEGATIONS OF FACTS

4. The P}aintiff Universal Underwriters is an insurance company that in part
specializes in a variety of insurance products for larger commercial customers

5. The Plaintiff Universal Underwriters began doing business with the Defendant
Arnerica’s Powersports, Inc. prior to 2003. However, in 2003 Universal Underwriters began
doing business with the Defendant Arnerica’s Powersports, Inc. on a “ioss sensitive” basis
until the spring of 2007.

6. The Dei`endant Arnerica’s Powersports, §nc. is a holding company which owns
numerous motorcycle dealerships in the states of California, Texas and Alabarna. The
Defendant Ainerica’s Powersports, Inc. has its national corporate headquarters located in
Brentwood, Tennessee, employing numerous employees performing accounting, computer
consulting, financial consulting, assistance for motorcycle dealerships and other activities

7 . The Plaintiff Universal Underwriters wrote insurance policies for the Defendant
Arnerica’s Powersports, Inc. including Worl<ers’ Cornpensation policies and UNICOVER
policies The UNICOVER policies included Property, Business Income, Crirne, Garage &
Genetal Liability, Urnbrella Liability and Pollution. The insurance coverage written for the
Defendant Arrrerica’s Powersports, §nc. had an excess deductible of $150,000.00 which
applied when any single loss was in excess of the underlying policy deductibles. This excess
deductible plan is formally called the Retention Aggregate pian, is governed by Endorsement
#301 and is attached to a guaranteed cost account in exchange for lower up front premium

COS!IS .

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8. The Defendant America’s Powersports, Inc. has insured through the Plaintiff
Universal Underwriters an inventory of thousands of “autos” including motorcycles insured
against the risk of loss for approximately $40,000,000.00 of inventory, which inventory is
located at dealership sites in multiple states. “A.uto” is defined in the Universal Underwriters

Insurance Policy (hereinafter “Unicover Policy”) issued to America’s Powersports, Inc. as

follows:
AUTO INVENTORY
UNICOVER COVERAGE PAR'I` 300
DEFINITIONS ~ When used in this Coverage Part:
“AUTO” means any type of land motor vehicle, (whether crated
or not), trailer or semi-trailer, farm tractor or implement, each
including its equipment and other equipment permanently attached
to it.
Unicover Policy, p. 9
COUNT l
FAILURE T{) PAY
9. The Plaintifrc Universal Underwriters incorporates herein by reference all of the

allegations of Paragraph 1 through and including Paragraph 8 of the Cornpiaint as if fully set
forth.

10. Frorn 2003 to 2007 the Defendant America’s Powersports, Inc. has made
numerous acquisitions of motorcycle dealerships throughout the country. At the time of each
acquisition, the Det`endant Arnerica’s Powersports, Inc. contacted the Plaintitt` Universal
'Underwriters and requested that the new motorcycle dealership and all ot its inventory,
employees and other risks be immediately added to the insurance policies subject to eventual

verification and audit as provided by the Unicover Policy. A copy of the insurance policy has

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not yet been filed with the Court, pending consultation with opposing counsel regarding
proprietary information

11. As a result of the need of the Det`endant Arnerica’s Powersports, Inc. to
immediately place insurance coverage during acquisition closings, the Plaintiff Universal
Underwriters agreed to bind and add coverages to the insurance policy subject to subsequently
being provided with the actual exposure base information (including inventory, number of
employees and property values) in order to determine the proper additional premium charges
The Defendant Arnerica’s Powersports, inc. asked the Plaintiff to bind and add coverage on
this basis on multiple occasions during the business relationship

12. The exposure bases which were originally estimates provided by the Defendant
were inaccurate but were later accurately determined by the contractual audit provided for in
the Unicover policy by the independent audit firms Despite the fact that Universal
Underwriters did in fact write insurance coverage for the risks requested by the Defendant
America’s Powersports, lnc, the l)efendant Arnerica’s Powersports, Inc. has failed and refused
to abide by the insurance contract by failing to pay the 2005 Audit Premitun and the Det`endant
Arnerica’s Powersports, Inc. is in breach of the insurance contract

l3. The insurance contract between Universal Underwriters and the I)efendant
America’s Powersports, Inc. provides the following with respect to the audit of the Defendant
Arnerica’s Powersports, Inc.:

INSPECTION ANI) AUDIT - WE have the right, but not the
duty, to inspect the insured property or operations at any time.

OUR inspections are not safety inspections They relate only to
insurability and the premiums to be charged

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WE may give YOU reports on the conditions WE find and
recommend changes While they may help reduce losses, WE do
not undertake to perform the duty of any person to provide for
the health or safety of YOUR employees or the public. WE do
not Warrant the property or operation is healthful or safe, or that
they conform to any rule, regulation, standard, code or law.

Any rate organization and any organization WE hire to make
insurance inspections, surveys, reports or recommendations are
subject to this provision

YOU must keep accurate records and send them to US promptly
upon request WE have the right to examine and audit YOUR

books and records at any time, up to three years after this policy
ends.

YOU must allow US to perform any inspection or audit.
Unicover Policy, General Conditions, p. 5

14. For policy year 2005, the contractual audit performed by the independent audit
firms resulted in an additional premium billing to the Defendant America’s Powersports, inc.
of $284,075.00 on or about February 22, 2007. Despite demand, Defendant America’s
PoWersports, Inc. has failed and refused to pay the $284,075.00 Which is past due and owing

15. For calendar year 2004, the unreimbursed loss amounted to $632.00 and was
billed to the Defendant America’s Powersports, Inc. on February 28, 2007. However, the
l)efendant America’s Powersports, Inc. has failed and refused to pay this $632.00. The
Defendant America’s Powersports, lnc. has also failed and refused to pay the outstanding
unreimbursed loss in the amount 38,869.00 for calendar year 2006, which was invoiced to the
Det`endant America’s Powersports, Inc. on or about February 28, 2007 but remains unpaid and
owing In fact, for calendar year 2006, the Plaintiff Universal Underwriters determined that

the Defendant America’s Powersports, lnc. Was entitled to a credit of $2,380.00 for 2006 and

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this credit billing was forwarded to Defendant Arnerica’s Powersports, lnc. on or about March
31, 2007.

l6. The “Unicover Policy” also contains the following provision regarding expenses
and attorney fees which the Plaintiff Universal Underwriters is entitled to recover from the
Defendant America’s Powersports, Inc.:

PREM¥UM COLLECTION - YOU must pay OUR expenses,
including attorney fees, spent to collect premium from YOU.

Unicover Policy, General Conditions, p. 5
17. Likewise, the Workers Compensation portion of the policy provides the
following language with respect to an accounting of the Workers Compensation loss:
PART FIVE - PREMIUM

F. Records
You will keep records of information needed to compute
premium You will provide us with copies of those
records when we ask for them.

G. Audit
you will let ns examine and audit all your records that
relate to this policy. These records include ledgers,
journals, registers, vouchers, contracts, tax reports,
payroll and disbursement records, and programs for
storing and retrieving data. We rnay conduct the audits
during regular business hours during the policy period and
within three years after the policy period ends.
Inforrnation developed by audit will be used to determine
final premium lnsurance rate service organizations have
the same rights we have under this provision

Workers Compensation Policy, p. 6
18. A License & Perrnit Bond Was issued on 0ctober 17, 2006 with a l00%
premium due in the amount of $2,000.00. This bond was later cancelled on Pebruary 15, 2007

as a result of the account not renewing with the Plaintiff Universal Underwriters. The

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premium for this bond that ran from October 17, 2006 thru Fehruary 15, 2007 remains past
due, outstanding and owing.

19. The Defendant Arnerica’s l-"owersports, Inc. has failed and refused to pay
several Worlters Compensation Loss billings despite demand and therefore the Defendant
America’s Powersports, lnc. is in breach of the Worl<ers Compensation policy.

20. Despite billing and acknowledgment by the Defendant Arnerica’s Powersports,
Inc., the Defendant Arnerica’s Powersports, Inc. has failed and refused to pay the 2005 Audit
Prernium billing in the amount of S284,075.00, the net loss billings for Unicover and Worl<ers
Compensation in the amount of $22,578.00 and the unpaid bond premium in the amount of
$2,000.00 for a total of $308,653.00 which remains past due and owing. A copy of a

summary statement in the amount of $308,653.00 is attached hereto as Exhibit B.

COUNT H
REFUSAL TO ALLOW AUDIT AND REQUEST
FOR AN ORDER COMPELLING AU])IT
21. The Plaintiff Universal Underwriters incorporates herein by reference all of the
allegations of Paragraph 1 through and including Paragraph 20 of the Cornplaint as if fully set
forth.
22. As previously alleged in paragraph 13 of this Complaint, the Unicover contract

of insurance, the Defendant A.rnerica’s Powersports, Inc. agreed to allow the Plaintiff

Universal Underwriters to conduct audits

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23. The Defendant America’s Powersports, Inc. has allowed audits of six (6)
locations to be conducted for calendar year 2006, but has failed and refused to allow auditors
to continue with their audits of the thirteen (13) remaining locations of the Defendant
Arnerica’s Powersports, Inc. This refusal to allow the audits is a breach of the Unicover
contract of insurance

24. The Plaintiff Universal Underwriters is entitled to an Order and Judgment

compelling the.completion of the audits

COUN'I` III
LET'I`ERS OF CREDIT

25. The Plaintiff Universal Underwriters incorporates herein by reference all of the
allegations of Paragraph l through and including Paragraph 24 of the Complaint as if fully set
forth

26. The Defendant Arnerica’s Powersports, Inc. has posted letters of credit to insure
payment of the insurance premiums due to the Plaintiff Universal Underwriters As the result
of the failure to pay the amounts owed of not less than $308,653.00 plus the 2006 audit
amount, the Plaintiff Universal Underwriters is entitled to call the letters of credit at any time.

WHEREFORE, premises considered, the Plaintiff, Universal Underwriters, prays for
the following relief:

l. That the Court enter a l`-"`inal Judgment against the Defendant Anierica’s
Powersports, Inc. in the amount of $308,653.00 plus the amount of the 2006 audit.

2. That the Court declare that the Defendant America’s Powersports, Inc. is in

breach of the insurance contracts with the Plaintiff Universal Underwriters

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3. That the Court declare that the Plaintiff Universal Underwriters is entitled to
immediately call the letters of credit which were posted by the Defendant America’s
Powersports, Inc.

4. That the Court enjoin the Defendant America’s Powersports, Inc. from
cancelling the letters of credit, pending the outcome of this litigation

5. That the Court award the Plaintift Universal Underwriters prejudgment interest
from and after March 14, 2007 in an amount not less than 10 percent (10%) per annum.

6. That the Court award the Plaintiff Universal Underwriters its costs, expenses
and attorneys fees pursuant to the contracts of insurance

7. That the Court Orcler the completion of the audits of the remaining thirteen (l3)
sites for the 2006 audit ot` the Defendant America’s Powersports, Inc.

8. That the Court award tire Plaintift` Universal Underwriters Insurance Cornpany
such other and further relief as the Court may deem just and appropriate

Respectfully submitted,

HOWA ,,TATE SOWELL WILSON & BOYTE, PLLC

By )M,

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